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 7
                          UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
 9
       GABRIELA BRILEY,                         ) Case No. 5:16-cv-01531-GHK-DTB
10                                              )
11     Plaintiff,                               ) JOINT STATUS REPORT
                                                )
12            vs.                               ) HON. GEORGE H. KING
13                                              )
       NATIONAL CREDIT SYSTEMS,                 )
14
       INC.,                                    )
15                                              )
       Defendant.                               )
16
                                                )
17                                              )
                                                )
18
19
              Plaintiff GABRIELA BRILEY (“Plaintiff”) and Defendant NATIONAL
20
       CREDIT SYSTEMS INC. (“Defendant”) jointly submit this status report in
21
       accordance with The Honorable Court’s November 28, 2016 Scheduling
22
       Conference Order [Dkt. 15].
23
       DETERMINATION ON THE ATDS ISSUE
24
              Following the Scheduling Conference on November 28, 2016 and pursuant
25
       to the Judge’s order, the Parties further discussed and disclosed information
26
       relating to the dialer system used by Defendant. The Parties also preliminarily
27
       scheduled a site inspection to take place on December 20, 2016. On December
28                                              1
                                     JOINT STATUS REPORT
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       16, 2016, Plaintiff conferred with her expert about the system used by Defendant
 1
       (the 3CX phone system) and its capabilities. While the 3CX has an internal PBX
 2
       and permits software based calling through a customer relationship management
 3
       software as well as call queuing, the way in which Defendant has its system
 4
       configured does not indicate the capability of autodialing necessary for a device to
 5
       be defined as an ATDS. While it is possible that Defendant does not have the
 6
       system configured in the represented way, Plaintiff concluded that it would not be
 7
       worth the time and expense for either side to go through with the site inspection
 8
       and reached out to Defendant about stipulating to an amendment of the Complaint
 9
       to remove the Class Allegations.
10
       AMENDMENT OF COMPLAINT
11
            Following the above discussions, the Parties agreed to stipulate to permit
12
       Plaintiff to file a First Amended Complaint removing the Class Action Allegations
13
       under the TCPA and for it to proceed as an individual action under the FDCPA
14
       and RFDCPA. The Parties have filed that stipulation and proposed order before
15
       this Honorable Court. The Parties believe that this process complies with Judge
16
       King’s order with regards to addressing the viability of the class claims based on
17
       the device used.
18
       AMENDED SCHEDULING REPORT
19
            The Parties are additionally submitting an amended Rule 26f Report given
20
       the proposed amendment of the Complaint to remove the Class claims and for the
21
       matter to proceed as an individual RFDCPA and FDCPA. As this reduced the
22
       complexity of the matter, the Parties advanced the dates by several months. In
23
       particular, the Parties propose the following dates in that report:
24
            Fact Discovery Deadline:       May 26, 2017
25
            (If Expert Discovery is Necessary)
26
            Initial Expert Disclosure:     May 26, 2017
27
            Rebuttal Expert Disclosure: June 9, 2017
28                                               2
                                     JOINT STATUS REPORT
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           Expert Discovery Cut-Off:   June 23, 2017
 1
           ADR Completion Date:        June 9, 2017
 2
 3
 4     Dated: December 21, 2016           Law Offices of Todd M. Friedman, P.C.
 5
                                          By:_/s/ Todd M. Friedman____
 6                                              Todd M. Friedman, Esq.
 7                                              Adrian R. Bacon, Esq.
                                                Attorneys for Plaintiff
 8
 9     Dated: December 21, 2016           The Moore Law Group, APC
10                                              By: /s/ Ramin Mahdavi_____
11                                              Ramin Mahdavi
                                                Attorneys for Defendant
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                                  JOINT STATUS REPORT
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                                    Signature Certification
 1
       Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies
 2     and Procedures Manual, I hereby certify that the content of this document is
 3     acceptable to counsel for Defendant and that I have obtained his authorization to
       affix his electronic signature to this document.
 4
 5     Dated: December 21, 2016             Law Offices of Todd M. Friedman, P.C.
 6                                          By:_/s/ Todd M. Friedman____
 7                                                Todd M. Friedman, Esq.
                                                  Adrian R. Bacon, Esq.
 8                                                Attorneys for Plaintiff
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       Filed electronically on this 21st day of December, 2016, with:
 1
       United States District Court CM/ECF system
 2
 3     Notification sent electronically on this 21st day of December, 2016, to:
 4     Honorable Judge George H. King
 5     United States District Court
       Central District of California
 6
 7     And all Counsel of Record on the Electronic Service List.
 8     s/Todd M. Friedman
 9     Todd M. Friedman
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                                    JOINT STATUS REPORT
